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                         UNITED STATES DISTRICT COURT
                     IN THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

 CAPRECE BYRD, BRYANT WATTS,
 RENAE WHITE, LAURA HERL, DR.
 FRANK McWHORTER,
 ERIC J. HARRIS, SR., and CONNIE
 BATES, individually, and on behalf of
 all others similarly situated,                Case No. 4:17-cv-12626
                                               Hon. Matthew F. Leitman
       Plaintiffs,
 vs.

 VISALUS, INC., NICK SARNICOLA,
 ASHLEY SARNICOLA, BLAKE
 MALLEN, RYAN BLAIR, TODD
 GOERGEN, GARY J. REYNOLDS,
 VINCENT OWENS, KEVIN
 MERRIWEATHER and MICHAEL
 CRAIG,

      Defendants.
 _______________________________________/




        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO
            DISMISS PORTIONS OF THE SECOND AMENED
                          COMPLAINT
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  I.   RESPONSE TO ARGUMENT DIRECTED TO SCHEME LIABILITY
       ALLEGATIONS

       The Second Amended Complaint (“SAC”) pleads scheme liability under

 Rules 10b-5(a) and (c). These subsections make it illegal “to employ any device,

 scheme, or artifice to defraud” and “to engage in any act, practice or course of

 business which operates or would operate as a fraud or deceit upon any person, in

 connection with the purchase or sale of any security.” Existing case law has not

 defined the full contours or limits of what is scheme liability, but “[t]he Supreme

 Court has repeatedly emphasized that Section 10(b) is not to be construed

 “technically and restrictively, but flexibly to effectuate its remedial purposes.” In re

 Parmalat Sec. Litig., 376 F.Supp.2d 472, 501 (S.D.N.Y.2005).” See U.S. S.E.C. v.

 Geswein, No. 5:10CV1235, 2011 WL 4541308, at *12 (N.D. Ohio Aug. 2, 2011),

 report and recommendation adopted in relevant part, No. 5:10CV1235, 2011 WL

 4565861 (N.D. Ohio Sept. 29, 2011) (“the statute ‘creates civil liability for a wide

 range of securities fraud,’ and is to be construed flexibly.’); Benzon v. Morgan

 Stanley Distribs., Inc., 420 F.3d 598, 610 (6th Cir. 2005). In In re Alstom S.A., 406

 F. Supp 2d 402, 475 (S.D.N.Y. 2005) the court said:

       [I]t is possible for liability to arise under both subsection (b) and
       subsections (a) and (c) of Rule 10b–5 out of the same set of facts, where
       the plaintiffs allege both that the defendants made misrepresentations
       in violations of Rule 10b–5(b), as well as that the defendants undertook
       a deceptive scheme or course of conduct that went beyond the

                                            1
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       misrepresentations. … Thus, even if a defendant who did not make any
       statements in connection with a particular fraud may not be held liable
       for fraudulent misrepresentations under subsection (b), that defendant
       may still be held liable under subsections (a) and (c) if it is alleged that
       they participated in scheme that encompassed conduct beyond
       misrepresentations.1


       As far as what that extra thing that must be present for scheme liability to

 attach, courts repeatedly found that both “sham” or “inherently deceptive” schemes,

 (see, e.g., In re Parmalat, supra, 376 F. Supp. 2d at 504 (“[t]he transactions in which

 the defendants engaged were by nature deceptive. They depended on a fiction,

 namely that the invoices had value”), and deceptive conduct in connection with the

 sale of a security “that gives the victims a false impression” is actionable scheme

 liability under 10b5(a) and (c). S.E.C. v. Lucent Techs., Inc., 610 F. Supp. 2d 342,

 360 (D.N.J. 2009); Burnett v. Rowzee, 561 F. Supp. 2d 1120, 1125 (C.D. Cal. 2008)

 (scheme liability arises out of deceptive act is one that has, ‘the principal purpose

 and effect of creating a false appearance of fact in furtherance of the scheme.’)



 1
  This Court in Kerrigan v. Visalus, Inc., 2016 U.S. Dist. LEXIS 29958, at *47 (E.D.
 Mich. Mar. 9, 2016) said, “To state a claim based on conduct that violates Rule 10b-
 5(a) and (c), [a] plaintiff must allege that a defendant (1) committed a deceptive or
 manipulative act, (2) with scienter, that (3) the act affected the market for securities
 or was otherwise in connection with their purchase or sale, and that (4) defendants’
 actions caused the plaintiffs’ injuries.” Additionally, “a plaintiff must identify an
 allegedly ‘deceptive or manipulative act’ by the defendant beyond making a
 misstatement or omission. The Court did not explore the contours of what constitutes
 that “deceptive or manipulative act” beyond finding that the inherently fraudulent
 pyramid scheme would be one such scheme liability.

                                            2
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        Rule 10b5-(a) and (c) scheme liability exists because the sale of the Founders’

 Equity Plan securities was effected through misrepresentations and omissions that

 convinced Plaintiffs to buy the securities, and through deceptive acts designed to

 keep them from finding out that what they bought isn’t what they thought they got.

 The Plaintiff investors were fraudulently told they would be getting a piece of equity

 that would be theirs to keep, to generate dividends for their families for

 “generations.” Defendants planned and executed a bait and switch: common stock

 was not sold, but Plaintiffs didn’t learn they wouldn’t get “dividends” for months

 and years they invested, and not before they told each other and others about the

 “opportunity.” The scheme was designed to deceive the basic nature of what was

 being offered from the outset. When Plaintiffs learned there were no “dividends” to

 be had, but instead realized they had to keep buying ViSalus products and “working”

 if they wanted to ever be paid anything resembling a dividend on their investment,

 it was too late. They had unwittingly joined and pumped a ton of money into a failing

 pyramid scheme.

       Thus there was a clear separation from the scheme and the

 msrepresentations/omissions. The misrepresentations and omissions that are the

 basis of the 10b-5(b) claim were induced Plaintiffs to believe they were being offered




                                           3
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 an opportunity to buy stock likely to appreciate and produce dividends.2 Had

 Defendants simply packaged these same lies into a private offering prospectus, and

 had Plaintiffs simply bought 6% of outstanding ViSalus stock from Sarnicola,

 Mallen or Blair before finding out the price they paid for the stock wasn’t $143

 million but $0, this would only be a 10b5-(b) case. But this scheme by necessity

 encompassed more. In order to convince Plaintiffs to buy into the offer, Defendants

 had to fool Plaintiffs into joining ViSalus’s failing pyramid scheme as distributors

 and to keep at it, and by their own example as “shareholders” convince other

 promoters to invest, before anyone figured out that ViSalus had no plan, there was

 no equity that was going to be given out, and if investors wanted to get anything at

 all, they had to stay on as distributors and keep buying ViSalus weight loss shakes

 forever.

       This bait and switch was accomplished by necessarily deceptive conduct. Par.

 344 lists in summary fashion the details of the scheme that is exhaustively detailed

 in the SAC. For two years from when the Plan was rolled out in January, 2015



 2
   These lies were that ViSalus common stock was worth investing in: we paid $143
 million for it just weeks ago, we have a plan to be huge, we are a billion dollar
 company, listed in Par. 347. These are generally (1) false statements/omissions
 relating to buying back the company with own funds; (2) false statements/omissions
 that ViSalus was a “billion dollar” company with a plan to be as big as Amway or
 Herbalife; (3) false statements/omissions that earlier promoters had made millions
 in an equity plan like the one offered; (4) false statements that this was a time-
 sensitive offer.
                                          4
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 Defendants (1) needed to hide the purpose of why they were offering this Founders’

 Equity (to prop up a failing pyramid scheme), 3 (2) deceptively hide the fact they

 were not actually selling or planning to convey ViSalus common stock,4 and (3)

 needed to fool the buyers into believing that “qualifying” meant that they had gotten




 3
   The purpose of this equity offering is relevant: it was to prop up the pyramid
 scheme, by concocting a false-pathway to equity in what the investors were led to
 believe was a legitimate business opportunity. Unlike the typical misrepresentations
 in an offering prospectus or investor presentation 10b5-(b) claim, the context of this
 fraudulent offering takes it further into scheme liability. In order to entice investors
 into the plan, Defendants had to get them to agree to be distributors. By necessity,
 Defendants falsely promoted ViSalus as a legitimate business opportunity and
 profitable business, through its website, at conventions, in press releases, flyers,
 advertisements, and videos. (Pars. 13-15, 30-39, 85-147, 342-344) and concealed the
 risks and warnings associated with the company’s true business model (as a pyramid
 scheme), the company’s financial stability, and profitability. (Pars. 2, 13-16, 81-82,
 341-46). By 2015, when the first offering was made, Defendants’ pyramid scheme
 was failing. (The details of what management knew are contained in Pars. 60-64,
 67-69; management’s failed plan to raise money from institutional investors in 2016
 is detailed in Pars. 72-82). That failure had to be concealed from the 2015-2016
 investors.
 4
   That is why there was a long delay between the alleged “qualifying” and delivery
 (or non-delivery) of any document that indicated that Plaintiffs got something other
 than common stock (see, e.g., Par. 99). Defendants concealed their scheme not only
 through deception, but also by intimidating and threatening promoters who asked
 about the equity payouts they were owed or who sought to join this litigation. Pars.
 107, 110, 192-198, 209-10, 329, 334, 344. Many of these actions are independently
 deceptive, but each is deceptive in the context of ViSalus’s operation of the
 fraudulent equity investment scheme and because ViSalus is a failing pyramid
 scheme. Had Defendants not taken actions to misrepresent and conceal the
 legitimacy of ViSalus and the equity offering, Plaintiffs would not have signed up
 to participate in the equity program and would not have been financially harmed.
 Par. 346.

                                            5
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 equity and Plaintiffs weren’t actually indentured shake-sellers whose dividends

 depended on continued buying of products they did not want.5 Hence, Defendants

 created a false appearance of legitimacy of the equity investment scheme, with the

 early investors were paraded on stages with hats and signs signifying they were

 “shareholders,” and deceptive looking “certificates” given out, causing new

 investors to believe that they too would get “equity” of value, when in fact no shares

 or ownership interest was ever passed.6 And Defendants made sure that this


 5
   See for example, allegations by Caprece Byrd about why she invested into the
 second year of the Plan, because she wanted to get more “equity,” not because she
 wanted a second distributorship (Pars. 185-187); she invested not because she
 wanted to sell ViSalus shakes but for the “generational wealth” promised (Par. 198);
 similar allegations by Bryant Watts (Par. 201) who actually borrowed the money to
 buy “equity” and purchased product and enrolled 20 promoters so he could do so
 (Pars. 206, 208); Renae White, who cashed out her 401k and car so she could get
 her “equity,” and now believes she must pay for the new LIV program run by
 ViSalus (Pars. 219, 223); Laura Hurl, who was interested in “equity” and the
 promised April 2017 payout and who never expected to continue a ViSalus business
 (Pars. 227, 236); Frank McWhorter (same, Par. 250).
 6
   To lure prospective investors and retain current investors, Defendants cultivated a
 false image of legitimacy, in part, by portraying qualifying distributors as
 “shareholders” in ViSalus, even giving those “shareholders” equity certificates,
 special lanyards, and “I Own It” hats to wear at conferences – where they were
 publicly identified as “shareholders” and marched on stage holding their certificates
 to serve as examples of success to prospective distributor-investors. See for example,
 allegations by Caprece Byrd about being paraded on stage and seeing others do the
 same (Pars. 160-161, 164-165); Brant Watts (same, Par. 207); Frank McWhorter
 (same, Par. 244). ViSalus even set up designated areas for the “shareholders” to be
 paraded with their “certificate of qualification,” hats and lanyards with “I Own It”
 messages (attended by various Plaintiffs, Pars. 14, 178, 233, 248), and special
 “shareholder” meetings (Pars. 179, 207) like one where Defendant Merriweather
 pitched the “equity” plan to prospective investors in a separate meeting at a hotel
                                           6
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 message, independent of the inducing misrepresentations, was spread throughout the

 targets of the campaign.7 Of course, by the time Plaintiffs found out that “I Own It”

 means “I’m In ViSalus Selling Shakes No One Wants Forever,” it was too late: each

 of them had spent $20,000 or much more for ViSalus to book as general revenue.

       Each of the actions- press releases, Facebook posts, “I Own It” hats, deception

 about what Plaintiffs bought and the rest-- that spread the scheme in furtherance of

 that “path to equity” scheme are inherently deceptive and grounds for scheme

 liability under 10b-5(a) and (c). See JAC Holding Enters., Inc. v. Atrium Capital

 Partners, LLC, 997 F. Supp. 2d 710, 735 (E.D. Mich. 2014) (allowing a scheme

 liability claim where the alleged conduct was “not just specific false statements . . .

 but the planning and carrying out of a comprehensive scheme, by specific steps, to

 mislead the buyers as to JAC’s value. .”); SEC v. Constantin, 939 F.Supp. 2d 288,308

 (S.D.N.Y. 2013) (granting summary judgment where “false promises about expected

 returns,” combined with other conduct intended to further the fraud, “suggest[s] the


 (Par. 298). The “certificate of qualification” was itself deceptive, inducing various
 Plaintiffs to believe that they indeed had purchased equity. (See Candace Byrd, Pars.
 173, 179; Bryant Watts, Pars. 207, 208; Frank McWhorter Par. 248).
 7
  This is why the SAC details the advance planning of who to target the offer to (Par.
 106, existing promoters to get them to spend more money), the press release (Par.
 88), and by email blasts to the existing promoters and on Twitter and Facebook,
 where promoters were either encouraged to say untrue things (“I qualified and will
 be a millionaire!” see Pars. 110, 147) or the Defendants themselves served to
 promote the offering through their own deceptive posts (see Pars. 127-133). This
 coordinated campaign took this fraud far beyond lies in a private offering prospectus.
                                           7
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 existence of a wide-sweeping fraudulent investment scheme”); These actions also

 bear a striking similarity to the actions found to satisfy scheme liability in Burnett v.

 Rowzee, supra, 561 F. Supp 2d at 1128, where “investors relied on the ‘false

 appearance” created by … interest payments to make investments and encourage

 others to invest in the scheme.”

       The context in which this was all done—to convince promoters to buy into a

 failing pyramid scheme-- also was part of the scheme. See CKB168 Holdings, Ltd.,

 210 F. Supp. 3d at 445-46 (finding scheme liability where the defendants created the

 false appearance that a pyramid scheme was “a legitimate company”); SEC v.

 Curshen, 888 F.Supp. 2d 1299, 1308 (S.D. Fla. 2012) (finding allegations that one

 defendant “orchestrated the false media campaign” surrounding the company, which

 included “arranging for the posting of a false website” touting company

 developments and issuing press releases claiming fictious achievements sufficient to

 allege scheme liability); SEC v. McDuffie, 2014 U.S. Dist. LEXIS 128664, at *28-

 29 (D. Colo. Sep. 15, 2014) (similar).

       Defendants’ objections are not well-founded. They argue that “Plaintiffs’

 bullet-point list of actions [in paragraph 344] is…impermissible group pleading”

 because Plaintiffs “do not specify who engaged in which specific act and when.”

 Def. Br. at 6. But Defendants ask this Court to read Plaintiffs’ allegations out of

 context, and ignore the fact that the bullet-point list of actions in Par. 344 is meant


                                            8
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 to be a bullet point summary which incorporates the detailed other allegations

 throughout the SAC which specify who engaged in the specific acts and when. See,

 e.g., 2, 7, 9-18, 30-39, 63-71, 83-84, 339, 341 (Defendants’ roles in pyramid scheme

 and development of equity investment scheme) 85-147, 342-346 (Defendants’ roles

 in operation of equity investment scheme and creation of the false appearance that

 the scheme and ViSalus are legitimate and profitable).

       Defendants’ substantive contention, that “none of the bullet point ‘actions’

 amounts to ‘an inherently deceptive act that is distinct from alleged misconduct.”

 Def. Br. at 6. only focuses on a single allegation, and again ignores the other

 allegations of the SAC and asks this Court to read each allegation out of context.8

 As detailed above, each one of the alleged actions was meant to—and did—advance

 the creation, operation, and concealment of Defendants’ complex scheme to offer

 equity in a failing illegal pyramid scheme. And similar to recruiting promoters into

 a pyramid scheme, it is inherently deceptive. 9 So is threatening, intimidating, and


 8
   Defendants’ ignore all but one of Plaintiffs’ allegations—cherry-picking a single
 sentence regarding the “buy back” of shares from Blyth, to conclude, without
 support, that the conduct alleged by Plaintiffs is not inherently deceptive. Def. Br. at
 6. However, the “buy back” of ViSalus stock was a part of creating and facilitating
 the scheme to offer equity in the failing illegal pyramid scheme. The fact that Blyth
 was having financial problems of its own, or that the Plan had not been rolled out
 yet, are irrelevant. It was an initial act in a scheme to defraud investors.
 9
   Courts have found that the creation and operation of a pyramid scheme is sufficient
 to establish scheme liability because a pyramid scheme is “nothing but a ‘course of
 business which operates . . . as a fraud.’” See SEC v. CKB168 Holdings, Ltd., 210 F.
                                            9
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 deceiving distributors who seek more information or who attempt to bring a lawsuit.

 These allegations, at this juncture, must be accepted as true. Greene v. Benefit Mortg.

 Corp., No. 08-12968, 2009 U.S. Dist. LEXIS 1163, at *4 (E.D. Mich. Jan. 8, 2009)

 (courts must “construe the complaint in the light most favorable to the plaintiff,

 accept all of the complaint’s factual allegations as true…”). Based on the foregoing

 reasons, Plaintiffs’ Rules 10b-5(a) and (c) claims should survive Defendants’ motion

 to dismiss.

  II.   RESPONSE TO ARGUMENT DIRECTED TO SCIENTER

        For a pleading to qualify as raising a strong inference of scienter, the
        inference “must be more than merely plausible or reasonable—it must
        be cogent and at least as compelling as any opposing inference of
        nonfraudulent intent.” Tellabs, [Inc. v. Makor] 551 U.S. 308 (2007) at
        314. In making this analysis, a court must accept all factual allegations
        in the complaint as true, consider the complaint in its entirety, including
        documents incorporated into the complaint by reference and matters of
        which a court may take judicial notice, and “take into account plausible
        opposing inferences.” Id. at 322–24.


 Supp. 3d 421, 445-46 (E.D.N.Y. 2016) (finding that promoters committed inherently
 deceptive acts by “engaging in what they claimed were the promotional activities of
 a legitimate [multi-level marketing company] – organizing seminars and in-person
 meetings, providing training and support to downlines, providing access to back
 office accounts, and portraying [the company’s] product as useful…” and “offer[ing]
 victims false assurances about [the company’s] legitimacy.”); see also Kerrigan,
 2016 U.S. Dist. LEXIS 29958, at *50 (finding Plaintiffs sufficiently alleged scheme
 liability by alleging that “ViSalus Defendants, created, structured, operated, funded,
 and controlled the alleged pyramid scheme”). Here, Plaintiffs have similarly alleged
 Defendants created, structured, operated and controlled a scheme consisting of a
 course of business operating as fraud.

                                            10
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 In re Miller Energy Res. Sec. Litig., No. 3:11-CV-386-TAV-CCS, 2014 WL 415730,

 at *7 (E.D. Tenn. Feb. 4, 2014). 10

       The SAC makes out a compelling case that both Merriweather and Reynolds,

 had actual knowledge, or were reckless in not realizing, that the 2015 offering they

 were promoting was materially different in kind, risk, and reward than the 2008 deal

 that enriched them. 11 When Reynolds and Merriweather made and allowed their


 10
    The Court has already either found, or the Defendants have not challenged, that
 Craig, Reynolds and Meriweather had the requisite scienter to engage in the
 securities fraud alleged in the Kerrigan litigation, which had spelled out their long-
 term experience with the company as both former executives (Craig) and high-
 ranking promoters in the alleged pyramid scheme fraud.
 11
    Reynolds promoted the equity offering by personal appearances and recorded
 statements, as well as having his name and video used in the main ViSalus page.
 Pars. 37; 92. His words leave no doubt that he was explicitly telling potential
 investors that yesterday’s great deal was likely to occur again:

       Nine years ago I bought into a vision … Now what’s been great about
       where we’re at today is that we didn’t do 15x. We did much greater
       than 15x so that means we made a lot more money. And also we’ve
       been able to establish a company that is valuable. We have a track
       record. So unlike what we had nine years ago, we now have a track
       record. It’s proven. So like when any other company that you think
       you’re gonna potentially invest in or put time in, you know, you hope
       that it’s going to achieve something. We’ve done it. We’ve got a 10-
       year track record and I keep telling people this on a daily basis: what
       we did in the last ten years as a company, we’ll do more in the next five
       years than we did in the previous ten combined…. But this is real and
       as Nick just said, we’re giving you free money. All you have to do is
       choose action.

 (Par. 120, similar Par. 131). Merriweather personally presented the offering
 to a group in Denver and that offering included a materially false “hockey
                                          11
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 statements about the old deal (look at how much money I made!) to be made to the

 new, unsophisticated investors, the implication that the new offering was like the old

 was irresistible. To assess whether Reynolds and Merriweather simply repeated

 lines that someone wrote or intended to say things with intent to defraud is easy.

 Both men had extensive knowledge about the state of the company, the nature of the

 company’s changed business, and the nature of claims made against the business, in

 2015 and 2016 when they made the fraudulent statement. Both promoters were high-

 level operatives for at least 10 years. We know this because Reynolds admits it in

 Par. 120, and Merriweather was part of the same group as Reynolds. They had been

 participants in the 2008 deal which itself was the result of ViSalus stock being given

 them in 2005-2006. Their actual experience and knowledge surrounding the old deal

 raises a cogent assumption that their 2015-2016 comparisons of the new

 “opportunity” to the ways in which they themselves were enriched was made with

 fraudulent intent or at best recklessly made.

       When these statements were made both Merriweather and Reynolds knew, or

 were reckless in not inquiring, that the prior equity deal they were comparing the

 new investment opportunity was materially different than the current offering, and

 to base the future likelihood of success, much less riches, on looking back to a



 stick” graph. Par. 298. Merriweather, like Reynolds, also played on his past
 success in the earlier Blyth buyout. (Par. 39).

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 different deal was a premeditated fraud. To start with, the prior deal was an

 Employee Incentive Plan in which the shares were given away and actual shares, not

 limited “units” were issued. (Par. 52). And both Defendants knew where the deal

 that paid them was funded—Blyth—and also knew in 2015 and 2016 that there was

 no Blyth on or over the horizon. They also knew, by virtue of having been long-term

 recruiters and promoters, that the “billion” dollar numbers that both claimed about

 ViSalus were pure bunk. Each had access to their downline numbers, and each could

 see what was objectively apparent about the company in 2015, that it was a fraction

 of the size during the buyout years. Thus, per Tellabs, supra, would a reasonable

 person deem the inference “at least as strong” as the inference that Merriweather and

 Reynolds were gullible idiots who did not have the slightest comprehension of how

 and why they had made millions of dollars in a prior private equity sale, and who

 knowledgeably spoke to investors about the company’s bright and rosy future out of

 pure ignorance?

       As to Craig, Defendants acknowledge that Craig was an insider who was

 given the task of brainstorming about what the offering would say and was actually

 given actual financial disclosures about the sorry condition of the company while

 the offering was going on. Pars. 97, 103-104.12 They attempt to parse his quoted


 12
  The SAC details the statements Craig made. Par 133 quotes his wife’s team
 Facebook page and his own email blasts (Pars. 137, 138) including the alleged 5
 year plan and ViSalus’s “global expansion.”
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 comment in Par. 104 as if he was advocating transparency, but of course that is not

 the point. The relevance of the internal email that was quoted was that Craig was

 concerned from the outset that the offering was illusory (“…it is a bit “grey” and

 does lend to people thinking that if they earn it you can take it all away…”), yet

 when it came out some weeks later, and he promoted it to his own downline in email

 blasts, the concern he had expressed was never addressed. So Craig consciously

 promoted a plan that he knew would be misunderstood by investors.

       Defendants acknowledge that Par. 296 alleges Craig appeared at the Kansas

 City Convention in October, 2015 before Byrd (who attended the KC convention)

 decided to invest. The statements Craig made at the convention included the same 5

 year plan projections Craig had earlier disseminated to other potential investors—

 projections that he knew or should have known were materially false. 13 Defendants

 acknowledge Craig was actually given the true projections, far below the “billions”

 he was advising people were around the corner, just months after the KC

 appearance—but the offering lasted until the end of 2016 (actually was artificially

 extended into early 2017). The SAC places Craig in the small inner circle of those

 who drafted, approved, and rolled out the fraudulent offering. It is a reasonable

 assumption that Craig, a veteran of the company since 2005, a recipient of the early


 13
   Par. 297 also places Craig in making statements concerning his past “success”
 with the prior stock buyout during the KC convention. Exactly like Merriweather
 and Reynolds, Craig knew the comparison to 2008 was misleading at best.
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 stock purchase, and a defendant in the Kerrigan lawsuit since 2014, was not in the

 dark about the company’s collapse when he spoke in front of Plaintiff Byrd in

 October, 2015 and lied about the 2020 Plan that did not exist.

 III.   RESPONSE TO ARGUMENTS DIRECTED AGAINST 10B5
        CLAIM AND TODD GOERGEN

        The SAC does not allege that Todd Goergen made particular

 misrepresentations directly relied on by any Plaintiff. The SAC asserts Goergen has

 independent liability under Section 10b-5 (a) and (c), and Defendants do not appear

 to claim that Goergen should not be a 10b-5 (a) or (c) Defendant.

        Plaintiffs do allege he was one of the authors of the statements made on the

 ViSalus website attributed to the company. The SAC alleges and details how and

 why he was one of the authors of the offering and participated in its plan and

 executed its dissemination at the time he was Chief Operating Officer of ViSalus.

 Pars. 34, 36. Thus, Goergen did more than “simply assist,” in the making of the

 plan, see Zwick Partners, LP v. Quorum Health Care Corp., et al., No. 3:16-CV-

 2475, 2018 WL 2933406, at *4 (M.D. Tenn. Apr. 19, 2018) (“Plaintiffs have

 sufficiently alleged that the CHS Defendants did more than simply assist. As noted,

 the “maker” of a statement is the person or entity with ultimate authority over the

 statement, including its content and whether and how to communicate it.”);

 Louisiana Mun. Police Employees Ret. Sys. v. KPMG, LLP, No. 1:10CV01461, 2012

 WL 3903335, at *5 (N.D. Ohio Aug. 31, 2012) (courts after Janus have interpreted
                                         15
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 the attribution element of Janus to reach corporate officers who sign statements filed

 with the SEC and have been quoted in press releases.); JAC Holding Enterprises,

 Inc. v. Atrium Capital Partners, LLC, 997 F. Supp. 2d 710, 734 (E.D. Mich. 2014)

 (“Despite the constriction of “maker” liability after Janus to those with “ultimate

 authority” over a statement, that liability still may extend to corporate officers who

 sign a false statement under their responsibility and authority as agents of the

 corporation.”). The complaint alleges that Goergen knew his name was used to

 bolster the offering—several of the misrepresentations made by Blair and Sarnicola

 use his name, or the fact they were recording at his house, or how much the Goergen

 family means to Visalus. To the extent discovery unveils that Goergen himself made

 actionable statements it is premature to dismiss (to the extent anything is dismissed)

 any 10b-5 claims against Goergen at this time with prejudice.



 IV.   RESPONSE TO ARGUMENTS DIRECTED TO BLUE SKY
       LAWS CLAIMS

             A. Plaintiffs Agree To Not Assert Section 501 Claim
       Plaintiffs agree that Section 501 does not appear to provide a private cause

 of action and will accordingly agree to withdraw that claim.




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             B. Plaintiffs’ Count V Mistakenly Transposed Subsection (3) With
                Subsection (2)
       Defendants correctly point out that Subsection 3 of Section 509 applies to

 actions by sellers, not purchasers. The listing of Subsection 3 as the operative

 subsection rather than the correct Subsection 2, (which applies to actions by

 purchasers against sellers and which substantively mirrors Subsection 3), was

 unfortunately a transcription error in a very lengthy complaint.

       What Count V describes in its body (and of course the entire complaint) is a

 violation of Subsection 2. See, e.g., SAC Par. 383 (“Each Defendant’s role in the

 solicitation of Plaintiffs to purchase the equity offering has been set forth in this

 Complaint and is incorporated herein. Under Section 509(3) [sic], each Defendant

 sold a security and is therefore liable to each Plaintiff and the class for violation of

 Section 509(3) [sic].”) (emphasis added), similarly par. 386 (“But for the fraudulent

 and deceptive actions and the expectation that they would receive a portion of the

 6% equity as represented by the Defendants, Plaintiffs and the Class would not have

 continued to purchase products and otherwise remain in good standing following

 their initial qualification. It is common sense to infer that no plaintiff would have

 paid $25,000 or more for equity in a company that would never be conveyed to the

 plaintiff, and if it ever was, would be worthless.”) (emphasis added).




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        The scrivener’s error should have been caught and corrected prior to filing.

 Plaintiffs seek leave to correct the subsection asserted from “Section 509(3)” to

 “Section 509(2)” in the title and pars. 380 and 383-384. If Defendants have argument

 with respect to Count V other than this “gotcha” Plaintiffs do not oppose them

 raising it.14

                 C. Count VI Under Section 509(7) Should Not Be Dismissed
                    Because It Lists the Purchaser Liability Subsection 3
                    Rather Than Seller Liability 2


        Just as Defendants were not really confused about the transposed Section 509

 liability subsections in Count V, the transposition error listed in par. 389, also listing

 Subsection 3 rather than 2, should not be used as a basis for dismissing Count VI.

 As that count makes clear (along with every other claim in the complaint) liability

 under Subsection 7 is premised on the named Defendants’ actions in connection with

 the offer and sale of securities. See Par. 395 (“But for the fraudulent and deceptive

 actions and the expectation that they would receive a portion of the 6% equity as

 represented by the Defendants, Plaintiffs and the Class would not have continued to




 14
    Defendants’ footnote relating to” asking” about Subsection 3 demands a short
 response. Rather than having a meet and confer, a short email was sent the day before
 the motion was filed pointing out that Subsection 3 applied to seller’s claims. With
 all due respect, Defendants obviously were not genuinely confused that Plaintiffs
 were claiming to be the sellers here. And yes, someone on Plaintiffs’ team did not
 proofread the complaint in this respect.
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 purchase products and otherwise remain in good standing following their initial

 qualification. … Failure to register a prospectus prevented the Plaintiffs and the

 Class from learning facts necessary to correct the misrepresentations and/or

 omissions contained in the offering circular and oral statements.”) Section 7 liability

 is the joint and several liability provision, and the claim describes which Defendants

 is named for each subsection of that claim.

       If Defendants have arguments relating to the substance of the claim under

 Subsection 7, Plaintiffs do not oppose additional briefing. Save for that, Plaintiffs

 seek leave to correct Par. 389 from “509(3)” to “509(2).”

 Dated: June 29, 2018
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                           CERTIFICATE OF SERVICE

        I certify that on June 29, 2018, I electronically filed the foregoing paper with

 the Clerk of the Court using the ECF system, which will send notification of such

 filing to all counsel of record on the ECF Service List.

        I also certify that on June 29, 2018, I sent a copy of the foregoing paper to Pro

 Se Defendant, Vincent Owens, via U.S., First Class Mail, at the last known address

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